  Case: 23-30260
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                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                 TEL. 504-310-7700
CLERK                                                      600 S. MAESTRI PLACE,
                                                                   Suite 115
                                                          NEW ORLEANS, LA 70130

                              June 09, 2023
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 23-30260     Lefebure v. Daniel
                       USDC No. 3:17-CV-1791

Enclosed is an order entered in this case.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk



                                  By: _________________________
                                  Whitney M. Jett, Deputy Clerk
                                  504-310-7772
Mr. Blake Joseph Arcuri
Mr. Michael L. McConnell
Ms. Jessica L. Orgeron
Case: 23-30260
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            United States Court of Appeals
                 for the Fifth Circuit                             United States Court of Appeals
                                                                            Fifth Circuit

                                                                          FILED
                                                                       June 9, 2023
                                   No. 23-30260
                                                                     Lyle W. Cayce
                                                                          Clerk

   Priscilla Lefebure, an individual,

                                                             Plaintiff—Appellant,

                                       versus

   J. Austin Daniel, Sheriff, West Feliciana Parish,

                                             Defendant—Appellee.
                   ______________________________

                   Appeal from the United States District Court
                       for the Middle District of Louisiana
                             USDC No. 3:17-CV-1791
                   ______________________________

                           UNPUBLISHED ORDER

   Before Clement, Southwick, and Higginson, Circuit Judges.
   Per Curiam:
          This court must examine the basis of its jurisdiction, on its own
   motion if necessary. Hill v. City of Seven Points, 230 F.3d 167, 169 (5th Cir.
   2000). In this civil rights case, on March 31, 2023, the district court
   dismissed all claims against defendant, Sheriff Daniel. Plaintiff filed a notice
   of appeal from that order.
          We have jurisdiction over appeals from final decisions of the district
   courts. 28 U.S.C. § 1291. Where an action involves multiple parties or
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                                    No. 23-30260



   claims, as in this case, an order dismissing some of the claims or defendants
   is final for appellate purposes only if the district court has made an express
   determination that there is no just reason for delay and an express direction
   for the entry of judgment, see Fed. R. Civ. P. 54(b), or certifies the case
   for immediate appeal pursuant to 28 U.S.C. § 1292(b). Here, the district
   court dismissed one defendant but left the claims against the remaining
   defendants pending. It did not enter the certification required by either Rule
   54(b) or § 1292(b). Thus, the notice of appeal filed before all claims and all
   parties were disposed of is premature. We are without jurisdiction over this
   appeal and it must be dismissed. See Borne v. A&P Boat Rentals No. 4, Inc.,
   755 F.2d 1131, 1133 (5th Cir. 1985).
          Accordingly, the appeal is DISMISSED for want of jurisdiction.




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